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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                    AT LEXINGTON

                                                                   FILED ELECTRONICALLY

VANESSA HUMPHREY,                                 )
                                                  )
               PLAINTIFF                          )
                                                  )
v.                                                )   CASE NO. 5:18-cv-00048-KKC
                                                  )
LIFE INSURANCE                                    )
COMPANY OF NORTH AMERICA,                         )
                                                  )
               DEFENDANT                          )

                             AGREED ORDER OF DISMISSAL

         Plaintiff, Vanessa Humphrey, and Defendant, Life Insurance Company of North

America, having settled all claims asserted herein, having agreed to the entry of this Order,

and the Court being sufficiently advised;

         IT IS HEREBY ORDERED that the above-referenced action be and hereby is

dismissed with prejudice, and stricken from the Court’s docket, with each party to bear its

own costs.

         AGREED TO:
  Case: 5:18-cv-00048-KKC Doc #: 16 Filed: 04/30/18 Page: 2 of 2 - Page ID#: 87




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